EEOC Form 5 (11/09)

 

 

CHARGE OF DiSCR|MiNAT|ON Agency(ies) Charge No(s):
f his form is affected by the Privacy Act of 1974. See enclosed Privacy Act
Statement and other information before completing this form,

433-2012-00286

 

 

 

 

 

 

 

 

 

‘,‘{iit DEC 27 hit 31 ‘*5 and EEOC
Siaie ar local Agency, if any
Name (indicate Mr.. Ms.. Mrs.) H Ph l /. A D `
. ome one ac$_r? o.geé ate of Birth
Ms. Llsa Cooper (910) 69§+ 08-06-1965
streecAddress ciry. stare and zlP code l- "`~ °-C-

106 Church Road, Red Springs, NC 28377

Named is the Employer, Labor Organization, Employment Agencyl Apprenticeship Committee, or State or Local Government Agency That l Be'lieve_
Discriminated Against lVle or Others. (lf more than two, list under PART/CULARS below.) .

 

 

 

 

 

 

 

Name §o. grgi%ees_ Members Phone No. (/nc/ude Area Code)
SN||THFIELD PACK|NG ,i€,p'or More (919) 862-7675
Street Address City, State and ZlP Code

15855 Highway 87 West, Post 0ffice Box 98, Tar Heel, NC 28392

Name No. Employees. Members Phone No. (lnc/ude Area Code)
street Address ciry, stare and ziP code

 

DATE(S) DiSCR|M|NAT|ON TOOK PLACE
Earliest Latest

|:| RACE |::] coLoR sex |:l REL`iGloN m NATroNAL oRlGlN 07-18-2011 07-19-2011

RETALIAT|ON [:| AGE m DISAB|LiTY E GENET|C lNFORMATlON
|:| 0THER (specify) coNTiNuiNo AchoN
THE PART|CULARS ARE (lf additional paper is needed. attach exlra sheet(s)).' v
i. On July 19, 2011, l was constructively discharged from my employment with the Respoyent. During my
employment l was the victim of constant sexual harassment on the part of Tommy L ,r ng`e;rgt'tendent.
l\/lr. _vvo`ti|cl frequently teii me that he wanted to be with me nd that he loved mé'.°i\/lr.,i.|agny wduid on at
least a weekly basis brush up against me sexually. lVlr. 'a‘?j power over me in that he ran the office and
would do as he pleased. l had been on thejob since Dec§mber 1995 and did not want to lose it. Final|y, l
could not longer tolerate that sexual harassment Ad'v' ~ D e.e_ 124 5
L.

Because of the harassment, l attempted to transfer to another department Howeverl | was told that
allegedly there were no vacancies

DlSCRlM|NATiON BASED ON (Check appropriate box(es).)

 

 

ll. Reported the sexual harassment but no effective corrective action was taken. A|leged|y Jamie Pope,
l-iuman Resources Representative, conducted an investigation into my allegations However, if he
conducted an investigation, he did not contact all of my witnesses

lll. l believe that l was the victim of discrimination because of my Gender-Female. l also believe that l was
the victim_of retaliation because l reported the sexual harassment and therefore, not allowed to transfer out
of department l believe that the Respondent is in violation of Title Vll of the Civi| Rights Act of 1964, as

amended

l want this charge filed with both the EEOC and the State or local Agency, if any. l
will advise the agencies ifl change my address or phone number and l will
cooperate fully with them in the processing of my charge in accordance with their

 

NOTARY - When necessary for State and Local Agency Requirements

 

 

pfoCedUr€S~ l swear or affirm that l have read the above charge and that it is true to

 

 

l declare under penalty of perjury that the above is true and correct the best of my knowledge, information and belief.
SIGNATURE OF coMPLAlNANT

t ` ~ SUBSCR|BED AND SWORN TO BEFORE ME TH|S DATE
l¢L,-_ al " l l (month. day. year)

_...Date_ ~-~ 4(~.',`harging P dySignatu

 

 

 

 

 

Case 7:13-cv-00145-FL Document 30-1 Filed 09/26/14 Page 1 of 1

